                                   Case 3:21-cv-01910-JLS-AGS Document 3 Filed 11/08/21 PageID.64 Page 1 of 1




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7                                      UNITED STATES DISTRICT COURT
                                   8                                   NORTHERN DISTRICT OF CALIFORNIA
                                   9

                                  10     ALEX I. ACUNA,
                                                                                           Case No. 21-08376 EJD (PR)
                                  11                        Plaintiff,
                                                                                           ORDER OF TRANSER
                                  12                v.
Northern District of California
 United States District Court




                                  13     MARCUS POLLARD, et al.,
                                  14                        Defendants.
                                  15

                                  16            Plaintiff, a state prisoner, filed a pro se civil rights complaint against personnel at
                                  17   the RJ Donovan Correctional Facility in San Diego. Dkt. No. 1. Because the acts
                                  18   complained of occurred in San Diego County, which lies within the venue of the Southern
                                  19   District of California, see 28 U.S.C. § 84(d), and defendants likely reside in that district,
                                  20   venue properly lies in that district and not in this one. See 28 U.S.C. § 1391(b).
                                  21   Accordingly, this case is TRANSFERRED to the United States District Court for the
                                  22   Southern District of California. See 28 U.S.C. § 1406(a).
                                  23            The Clerk shall terminate all pending motions and transfer the entire file to the
                                  24   Southern District of California.
                                  25         IT IS SO ORDERED.
                                  26              11/8/2021
                                       Dated: _____________________                         ________________________
                                  27                                                        EDWARD J. DAVILA
                                                                                            United States District Judge
                                       Order of Transfer
                                  28   PRO-SE\EJD\CR.21\08376.Acuna_transfer (SD)
